   Case 1:23-cv-11195-SHS-OTW                 Document 364    Filed 12/06/24     Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 THE NEW YORK TIMES COMPANY,

                                 Plaintiff,

                 v.                                       Case No. 1:23-cv-11195 (SHS) (OTW)

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI HOLDINGS, LLC,
                          Defendants.


       DECLARATION OF ELANA NIGHTINGALE DAWSON IN SUPPORT OF
              OBJECTION TO DISCOVERY ORDER AT ECF 344

I, Elana Nightingale Dawson, declare as follows:

        1.      I am a partner at Latham & Watkins LLP, and counsel for Defendants OpenAI,

Inc., OpenAI LP, OpenAI, LLC, OpenAI GP, LLC, OpenAI OpCo LLC, OpenAI Global LLC,

OAI Corporation, LLC, OpenAI Holdings, LLC, OpenAI Startup Fund I LP, OpenAI Startup Fund

GP I LLC, and OpenAI Startup Fund Management LLC in this matter. I have personal knowledge

of the facts set forth in this declaration. If called as a witness, I could and would competently

testify as to these facts under oath.

        2.      I submit this Declaration in Support of OpenAI’s Objection to Discovery Order at

ECF 344.

        3.      Attached hereto as Exhibit A is a true and correct copy of OpenAI OpCo LLC’s

Letter Motion Requesting a Pre-Motion Conference, filed at ECF 236 (hereafter “Letter Motion”).

        4.      Attached hereto as Exhibit B is a true and correct copy of The New York Times’s

Letter Response to the Letter Motion, filed at ECF 238.

        5.      Attached hereto as Exhibit C is a true and correct copy of Magistrate Judge Ona T.
   Case 1:23-cv-11195-SHS-OTW              Document 364         Filed 12/06/24   Page 2 of 2




Wang’s Order denying the Letter Motion, filed at ECF 344.

       6.      Attached hereto as Exhibit D is a true and correct copy of a subpoena The New

York Times informed OpenAI that it was serving on Anthropic PBC on December 3, 2024, in the

above-captioned action.


I declare under penalty of perjury that the foregoing is true and correct.

Executed this 6th day of December, 2024, in Silver Spring, Maryland.



                                                      By: /s/ Elana Nightingale Dawson
                                                         Elana Nightingale Dawson




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